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                 EXHIBIT B-063
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                                                                                    FILED IN OFFICE



                   IN THE SUPERIOR COURT OF FULTON COUNTY
                               STATE OF GEORGIA

State of Georgia                                   •


V.                                                      CASE NO. 2022-EX-000024


IN RE: 2 MAY 2022 SPECIAL
PURPOSE GRAND JURY
                                                   •

     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
                RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests   permission  to use a recording device in
Courtroom Judge Rober C.I. McBurney, 8D in order to cgjrecord images
and/ or cgjsound during all or portions of the proceedings       in the above
captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s):   cgjcomputer of any size, including a
tablet, a notebook, and a laptop; cgjsmart phone, a cell phone or other wireless
phone; cg] Live camera and other audio or video recording devices D any
similar devices

The proceedings         that the undersigned       desires to record commence on (date and
timeJAugust      25,    2022       at   10:30am.    Subject to direction from the court
regarding    possible     pooled   coverage, the undersigned wishes to use this device
in the courtroom        on (date and time) August 25, 2022 at 10:30am.

The personnel       who will be responsible         for the use of this recording   device are:
(identify. appropriate personnel   or individualJWSB-TV    employees.

The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


For questions or concerns email µio(i1fulto1tcottnll1f1c.um11                                1
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guidelines issued by the court.
*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 .business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

WSB-TV
('News Agency/Media         Outlet/Law Firm/Individual       Representative.I

 content@wsbtv.com
'{Email Address I

404 897-6276
(Phone Numberl

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               IZ[Approved


               The requesting agency:
                     181Shall be pool for its media
                                 not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 1filh__day of__,_A,,,u.,,gu::;s:..:t'----------~·        2022




For questions or concerns email pio@{ulton.countut,a-.gov                       2
Rule 22 (Rev. 04/01/ 18)
